      Case 4:15-cv-00748-JM Document 1 Filed 12/08/15 Page 1 of 15
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                                                                                  DEC    oa 2015
          IN THE DISTRICT COURT OF THE UNITED STAJ~:W~MACK
                 EASTERN DISTRICT OF ARKANSAS   .By: ~~Q  1 Clf~K

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ZION CAPITAL VENTURES, INC. and
NICHOLAS GORDON                               PLAINTIFFS

v                             CASE NO.:        4-: \Cj vv14-<3 - jM
SKB PARTNERS, LLC;
SKB INSURANCE, LLC;                                                 DEFENDANTS
SCOTT SMITH, individually and
In his official capacity; and
JOHN DOES 1-9

                                      COMPLAINT

       Comes now the Plaintiffs, Zion Capital Ventures, Inc., (Zion) and Nicholas

Gordon, by and through their attorneys, and for their Complaint, states:

       1.      The Plaintiffs at all times relevant to this Complaint were and are the

residents of New York. The Defendants in this matter are residents of Saline County

Arkansas. The amount in controversy is in excess of Federal Court jurisdiction, therefore

Jurisdiction and venue is proper before this Court.

       2.      On or about July 2011 the Defendants approached the Plaintiff with a

purported business opportunity for investment in large scale construction projects.

       3.      Defendants told the Plaintiffs that he had connection with former President

William Clinton and a special note from the Federal Reserve Bank giving him access to

several billion dollars. See attached Ex. A.

       4.      The Defendants further engaged third parties to impersonate certain

financial figures to the Plaintiff during certain phone calls. Defendants had persons claim

they represented Bank of the Ozarks and the Federal Reserve of Cleveland.



                              This case assigned to Disbict Judge Mook
                              and to Magistrate Judge._D....
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                                                             ____          u__
       Case 4:15-cv-00748-JM Document 1 Filed 12/08/15 Page 2 of 15



        5.        Defendants wrongfully enticed Plaintiffs into giving them large amounts

of monies. See attached Ex. B.

        6.        Plaintiffs have sought to have their monies returned to no avail.

        7.        The Defendants used email, the USPS, and telephones to communicate

fraudulent offers to the Plaintiffs.

        8.        The Defendants conspired to defraud the Plaintiff out of monies that were

to be invested.

        9.        From Defendants' wrongful actions, this suit has ensued.

                                           COUNT I

                                 BREACH OF CONTRACT

        10.       Defendants agreed to invest the monies of the Plaintiff's.

        11.       The parties entered into a business agreement.

        12.       Defendants breached that agreement when they failed to invest or return

the Plaintiffs monies.

        13.       Defendants continue to refuse to invest or otherwise tell the Plaintiffs

where their monies are.

        14.       Defendants, have failed to pay Plaintiffs, monies owed for fraudulent

investments.

        15.       Defendants have acted willfully and fraudulently in doing so.

                                           COUNT II

                                            FRAUD

        16.       Plaintiffs were fraudulently induced into enter the t contract with

Defendants.
       Case 4:15-cv-00748-JM Document 1 Filed 12/08/15 Page 3 of 15



        17.     Defendants made false representations in regard to the contract.

Defendants knew at the time of the offer that he were never going to invest the monies or

do what was promised.

        18.    Defendants knew the items represented in the contract were false when the

offer was made.

        19.    Defendants made these promises for the express purpose of inducing

Plaintiffs to enter into the contract.

        20.    Plaintiffs justifiably relied on the contract and assertions made by

Defendants to enter into the contract.

        21.    Plaintiffs would have never entered into the contract with Defendants

except for the false representations.

                                         COUNT ill

                                  THEFT OF PROPERTY

        22.     Defendants took monies that belonged to Plaintiffs.

        23.     Defendants took the monies of Plaintiffs, with the purpose of depriving

the Plaintiffs of the monies and articles owed to them.

                                         COUNT IV

                                  UNJUST ENRUICHMENT

        24.     The Defendants have been unjustly enriched by taking monies that the

Plaintiffs gave to them in good faith and not doing what it was intended for.

        25.     The Defendants have further received unjust enrichment by their illegal

conduct against the Plaintiffs.
       Case 4:15-cv-00748-JM Document 1 Filed 12/08/15 Page 4 of 15



                                          COUNTV

                VIOLATIONS OF THE RACKETEER INFLUCENED

        26.     The conduct of the Defendants is a predicate act with the purpose to

defraud the Plaintiffs.

        27.     The Defendants have operated an enterprise for several years with the

purpose to defraud consumers.

        28.     Over the past ten years the Defendants have engaged in a pattern of

behavior to defraud customers of monies.

        29.    Defendants conduct shows a pattern of racketeering.

                               TRIAL BY JURY AND FEES

        32.     Plaintiffs seeks attorney's fees and costs.

        33.     Plaintiffs request a trial by jury.

        WHEREFORE, the Plaintiffs, prays for judgment against the Defendants in an

amount greater than that ofFederal     Courtjurisdictio~;   fortheir attorney's fees and costs;

and for all other just and proper relief to which he may be entitled.




                                                 Ttt as        s (02006)
                                                 Charles D. Hancock (01022)
                                                 Alex Burgos (11133)
                                                 Hancock Law Firm
                                                 610 East 6th St
                                                 Little Rock Arkansas 72202
                                                 Telephone (501) 372-6400
                                                 Fax (501) 372-6401
                                                 burns@hancocklawfirm.com
  Case 4:15-cv-00748-JM Document 1 Filed 12/08/15 Page 5 of 15




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     Date              September 15. 2010
     Ref               FRNY/013n52-09


     To:      SKB Partners. LLC.
              Reoresented bv Mr. Scott A. SrMh
              U.SA. Passport Number '402829477
              Custodial Trustee
              Custodial Account No.: 021088506


     Dear Mr. Scott A. Smith.


                                        Rneryed Funds Letter

     With reference to your request. we hereby confirm with full. authonty
     and bank responsibility that the federal Reserve Bank. New York has blocked
     and resented your U.S. Treasury Check Nwnbere 2122 10566101 up to
     2122 10566120 inclusively with a total amount of Ten Billion
     United States Dollars (USO 10.000,000,000.00) for the benefit of
     SKB Partners, LLC., Represented by Mr. Scott A. Smith, U.S.A. Passport
     Number 402829477.

     These U.S. Treasury Checks have been blocked and reserved from the date
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                                 and one day renewable uo to Ten (10) vears.
     We further confirm lt1at these Traasury Checks can be veriiied through
     a responsjble bank lnquify.



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PHO"'E (212)  no     5000 FAX. '212) 1206Jll



  Date         ~r      15, 2010
  Ref.         FRNY/013n49-09


  To:     SKB Partners. LLC.
          ~epresented by Mr. Scott A. Smitn
          U.SA Pa.ssoort Nurnber402829477
          Custodial Trustee
          Custodial Acoount No.: 021088606


  U~ar   Mr Scott A Srmth.

  This letter will serve as confirmation that SkB Partners, LLC •• Reoresented bv
  Mr. Sood A. Smith, U.S.A. Passport Number 4028294n, has the tutt signatory I
  authority over the U.S. Treasury Check Numbers 2122 10566101 up to
  2122 10566120 with a total amount of Ten 8iltiOn United States Ooliars
  tUSO 10.000,000.000.00).

  We. The FederaJ Reser.te Bank of New York. located at 33 Liberty Street. New YCMil.
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  may be asstgned. or recorded on the record o1 our bank with lhe express wntten
  consent of the above reference account hokter 10 obtain credit. All rights arising from
  tho ownershfp of tM account shall thereby be freely as9'gnab6e. transfenlbte, and
  diviSitlte Without payment to us of any banSfer fee and uoon written instructions of the
  Account Hokier hefeof. and who warrants our stnct compl81ce hefewlth.

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  or future ltnOOMd und« ttte laws of the EurOQean Union and Switzeri81'1d.

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)3LIBERTY STREET
NEW YORK. l'\~W YORK. 1004S, U.S.A
PHONE •1112) 720 3000 f AX ·fl 12) 120 6J.JI



     Date          September f 5. 2010
     Ref.          FRNY/0137743-09


                                SAFE KEEPING RECEIPT
     We. The Federal Reserve Bank of New Yonc. IOC8ted at 33 Liberty Street. New York.
     New YOik 100ts. U.S.A. with Telephone Number {212) 720 5000; Fax Number
     (212) 720 8331. SWIFT Code: FRNY US 33. hereby confirm wilh full authority and
     responsibility that our valued difR has deposited with us in Custodlal Acoooot
     Number 02108850& funds I aaael8 otwt\ich detaife are outlined as followa:

     Type of Funds J Assets      U.S. Tr981UfY Checks
     Check Numbers               2122 105 66101 up to 2122 105 68120
     Registration on FED Screlln Access Code: Sk8-FED.&3951799-f08-82.29fS4..2010
                                 Securit'4 Code: 217864 SKB 28
                                 10 Number- SK8-FE0-34g&123-822964-2010
     Date of Issue                 September 15, 2010
     Value Date:                   September 15, 2020 callable and renewable
                                   annuaHy up to Tan (10) yeer-.
     Check Denomination            Five Hundred Miflton Umted States Oollanl
                                   (USO 500.000.000.00)
     Total Amount                  Ten Btlficn United SUltet Collars
                                   (USO 10,000.000,000.00)

  These funds I asaets have been placed in our cuskldial saNkeeping Under Custodial
  Account No. 021088506, Custodiaf Account Name: SKB Partners. lLC. Safekeeping
     Period. from Maren 29. 2010 to Match 29. 2025.

  Ttn       SafekeepenQ Recetpl iS ilalied and effective from the date of issuance for
  ttse benefit of the Cuttodtal TrustM and
                                      Signatory of the aforaeaid funds I assets.
  namely SK8 Parlners, llC .. ~esentect b,- Mr. Scolt A Sft'lllh. U.SA PBAPOf1
  Number 402s294n a his assignees.

 We f\lf1hlr confirm thSI tNae funda I asaes ant gaoct. dean, dNred end of non-
 aYminal origin. free and dew of aft llens and ~ and sll8lf remain so for
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          Webmail  :: Print    Document 1 Filed 12/08/15 Page 12 of 15Page l of 1


 eDm I    Clpse Window

  Subject: Participation Agreement
    From: ssmith@skbholdlngs.com
     Date: Fri, Dec 09, 2011 8:43 am
       To: info@Prlmeprop.us
  Attach: PartlclpatlonAgreement12-9-2011.doc

  Nick-

  Here is the Participation Agreement reflecting the 20% being granted to you for
  the remaining $3M investment being infused today, December 9, 2011 .


. Scott



                              copyright Cl 2003-2012. All rights reserved.




http://ernaill4.secureserver.net/view_print_multi.php?uidArray=7950IJNBO... 1/13/2012
         Case 4:15-cv-00748-JM Document 1 Filed 12/08/15 Page 13 of 15




                                 PARTICIPATION AGREEMENT

       THIS AGREEMENT (''Agreemenr'), is dated as of December 9, 2011, by and between
Scott A. Smith, an individual and SKB Partners, LLC, an Arkansas entity (hereinafter jointly
referred to as •sAS") and Nicholas Gordon and Zion Capital Ventures, Inc. (hereinafter
referred to as MParticipant").

       Whereas, SAS seeks an investment of Six Million Eight Hundred Fifty Thousand Dollars
($6,850,000.00) from Participant.

       Whereas, SAS, and Participant desire to set forth the terms and conditions pursuant to
which Participant may purchase a percentage of the available net earnings owned by SAS
under the attached Reserved Funds Letter, Confidential Memo, OTC WI 2037 and Safe
Keeping Receipt in favor or SAS (Exhibit 1, attached hereto and made a part hereof and
hereafter referred to as Reserved Capital) and thereby purchase twenty percent (20%) of SAS's
net earnings "Return on Investment" (ROI) generated by the Reserved Capital pursuant to the
Agreement between SAS and New Fountain Development LTD, said Agreement being known
as "Project Funding & Asset Management Agreement" and any successors thereto for the life of
SAS's Reserved Capital. The percentage of ownership sharing profit mentioned above does not
include any ownership rights in or to Investor's Original Reserved Capital and/or the Trading
Capital obtained against such Reserved Capital.

        NOW, THEREFORE, for good and valuable mutual consideration, the receipt and
sufficiency of which are hereby acknowledged, SAS and Participant hereby agree as follows:

1.      PARTICIPANT. Participant agrees to pay to SAS the sum of Six Million Eight Hundred
Fifty Thousand Dollars (USO 6,850,000.00). Participant and SAS agree that said sum of Six
Million Eight Hundred Fifty Thousand Dollars (USO 6,850,000.00) will be funded on December
9, 2011. Further, SAS warrants that all updated compliance documents have been submitted to
a qualified entity, New Fountain Development, LTD, final approval has been granted by that
entity and it's associated banks and related entities, Deutschebank, UniCredit Bank of Austria
(hereinafter referred to as "Bank Syndicate"), the FED and the European Central Bank;
including an Asset Management Agreement which has been approved by said bank syndicate
for execution. In return for the referenced payment SAS agrees to transfer twenty percent
(20%) of it's net earnings "Return of lnvestmenr (ROI) generated by the Reserved Capital
reserved under PROJECT FUNDING & ASSET MANAGEMENT AGREEMENT. and any
successor agreements thereto for the life of Reserved Capital, pursuant to Section 3
hereinafter. The percentage of ownership sharing profit mentioned above does not include any
ownership rights in or to Investor's Original Reserved Capital and/or the Trading Capital
obtained against such Reserved Capital.


2.         TAX LIABILITY. Participant shall be solely responsible for any and all local, state, and
federal tax liabilities which may result from this Agreement or payments made hereunder.
Participant shall hold SAS harmless from and against any and all local, state, and federal tax
liabilities which may be assessed against SAS by virtue of this Agreement or payments made
hereunder as they relate to the Services performed by Participant.

3.    COMPENSATION. Within two (2) business days of SAS's receipt of any and all (ROI),
SAS will pay, pursuant to a Sub Fee Agreement to be executed by SAS and Participant the


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                                  PARTICIPATION AGREEMENT

aggregate combined sum of twenty percent (20%) of the net earnings "Return of Invest" (ROI)
generated by the Reserved Capital reserved under NEW FOUNTAIN DEVELOPMENT LTD &
SKB PARTNERS LLC PROJECT FUNDING & ASSET MANAGEMENT AGREEMENT. and any
successors thereto for the life of SAS's Reserved Capital.

4.        IS.BM.   This term of this Agreement shall be for a period of ten (10) years from the date
hereof.

5.      CANCELLATION or TERMINAI!O.N. SAS may NOT terminate this Agreement before
the expiration date of the term of the Credit Derivative described in Exhibit 1.

6.      CONFIDENTIAL INFORMATION. Participant shall treat as strictly confidential (a) all
information and data obtained by Participant and Sub-Participant in connection with this
Agreement or otherwise which are confidential or proprietary to SAS, and SKB including,
without limitation, the Work Product, and information and data relating to SAS's operations,
policies, procedures, techniques, accounts and personnel; and (b) all information and data
which are confidential or proprietary to a third party and which are in the possession, custody or
control of SAS. In the event of a breach or threatened breach of the provisions of this Section,
SAS shall be entitled to an injunction restraining such breach or threatened breach without
having to prove actual damages. Such injunctive relief as SAS may obtain shall be in addition
to all of the rights and remedies available at law and in equity. This Section shall survive the
termination of this Agreement for a period of two years from the date of terminatkln.

7.        CHANG!;;S. The terms and conditions of this Agreement may not be amended, waived,
or modified, except in a writing signed by the parties hereto.

a.      NO WAIVER. No failure or delay of either party to exercise any rights or remedies
under this Agreement shall operate as a waiver thereof, nor shall any single or partial exercise
of any rights or remedies preclude any further or other exercise of the same or any other rights
or remedies, nor shall any waiver of any rights or remedies with respect to any circumstances
be construed as a waiver thereof with respect to any other circumstances.

9.      §EVERABILITY. ln the event that any provision of this Agreement is found to be invalid
or unenforceable by a court of competent jurisdiction, the remainder of this Agreement shall
continue in full force and effect as if no such invalidity or unenforceability had been determined
and it shall not be affected thereby.

10.    GOVERNING LAW. In the event of a dispute hereunder, the Courts of the State of
Arkansas shall be deemed to have jurisdiction and the laws of the State of Arkansas shall
apply.

11.     ELECTRONIC SIGNATURES. The parties to this Agreement may sign it by electronic
signature affixed below. The electronic signature shall have the identical effect and validity as if
the party signed who used it actually signed it in person and by ink.




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                                PARTICIPATION AGREEMENT

DATED as of the date first above written.




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PARTICIPANT                 ,
               Nicholas Gordon, Individually                             Scott A. Smith, Individually

Date: December 91 2011                                                   Date: December 9, 2011




Zion Capital Ventures, Inc_                                     SKB Partners, LLC




Nicholas Gordon, Vice President                                 Scott A. Smith


Title: Vice President                                           Title:   Senior.Managing Partner


Date: December 9, 2011                                          Date: December 9, 2011




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